Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 1 of 8




                                                         EXHIBIT E

                                                           OPSO 00389
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 2 of 8




                                                           OPSO 00390
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 3 of 8




                                                           OPSO 00391
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 4 of 8




                                                           OPSO 00392
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 5 of 8




                                                           OPSO 00393
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 6 of 8




                                                           OPSO 00394
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 7 of 8




                                                           OPSO 00395
Case 2:20-cv-01931-WBV-DPC Document 64-6 Filed 08/23/21 Page 8 of 8




                                                           OPSO 00396
